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                                                          1 JEDEDIAH WAKEFIELD (CSB No. 178058)
                                                            jwakefield@fenwick.com
                                                          2 FENWICK & WEST LLP
                                                            555 California Street, 12th Floor
                                                          3 San Francisco, CA 94104
                                                            Telephone: 415.875.2300
                                                          4 Facsimile: 415.281.1350
                                                          5 ANNASARA G. PURCELL (CSB No. 295512)
                                                            apurcell@fenwick.com
                                                          6 FENWICK & WEST LLP
                                                            1191 Second Avenue, 10th Floor
                                                          7 Seattle, WA 98101
                                                            Telephone: 206.389.4510
                                                          8 Facsimile: 206.389.451
                                                          9 ARMEN NERCESSIAN (CSB No. 284906)
                                                            anercessian@fenwick.com
                                                         10 FENWICK & WEST LLP
                                                            801 California Street
                                                         11 Mountain View, CA 94041
                                                            Telephone: 650.988.8500
                                                         12 Facsimile: 650.938.5200
F ENWICK & W ES T LLP




                                                         13 Attorneys for Defendants
                        LAW
                                      SAN FRA NCI S CO




                                                            AMAZON.COM, INC. and
                         AT
                        ATTO RNEY S




                                                         14 AMAZON SERVICES LLC
                                                         15                        UNITED STATES DISTRICT COURT
                                                         16                       CENTRAL DISTRICT OF CALIFORNIA
                                                         17                      (WESTERN DIVISION – LOS ANGELES)
                                                         18
                                                         19 ERIC WEBER and BRYAN REES,                 Case No.: 2:17-cv-08868-GW(Ex)
                                                            individually and on behalf of all others
                                                         20 similarly situated,                        [PROPOSED] ORDER
                                                                                                       GRANTING AMAZON’S
                                                         21                  Plaintiffs,               MOTION TO COMPEL
                                                                                                       ARBIRATION AND DISMISS
                                                         22         v.                                 CLAIMS AS TO PLAINTIFF
                                                                                                       ERIC WEBER
                                                         23 AMAZON.COM, INC. and AMAZON
                                                            SERVICES LLC,                              Date:       April 2, 2018
                                                         24                                            Time:       8:30 AM
                                                                       Defendants.                     Crtm:       9D
                                                         25                                            Judge:      George H. Wu
                                                                                                       Trial Date:NONE SET
                                                         26
                                                         27
                                                         28   [PROPOSED] ORDER
                                                              GRANTING AMAZON’S MOT.
                                                              TO COMPEL AND DISMISS                       Case No. 2:17-cv-8868 GW(Ex)
                                                   Case 2:17-cv-08868-GW-E Document 28-13 Filed 02/15/18 Page 2 of 2 Page ID #:248



                                                          1         Having considered Defendants Amazon.com, Inc. and Amazon Services
                                                          2 LLC’s (collectively, “Amazon”) Motion to Compel Arbitration and Dismiss Claims
                                                          3 as to Plaintiff Eric Weber (“Plaintiff”), Plaintiff’s opposition to the motion,
                                                          4 Amazon’s reply brief in support of it, and all papers and arguments submitted to the
                                                          5 Court, the Court FINDS that Plaintiff repeatedly agreed to arbitrate disputes arising
                                                          6 out of his use of the Amazon service.
                                                          7         Accordingly, the Court GRANTS Amazon’s motion and hereby COMPELS
                                                          8 Plaintiff Eric Weber to arbitrate his disputes with Amazon.
                                                          9         IT IS SO ORDERED.
                                                         10
                                                         11 Dated:                        , 2018
                                                         12
F ENWICK & W ES T LLP




                                                         13
                        LAW
                                      SAN FRA NCI S CO




                                                                                                              The Honorable George H. Wu
                         AT
                        ATTO RNEY S




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                                                         28   [PROPOSED] ORDER
                                                              GRANTING AMAZON’S MOT.
                                                              TO COMPEL AND DISMISS                       1        Case No. 2:17-cv-1941 GW(Ex)
